        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 1 of 15




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             |
WYE OAK TECHNOLOGY, INC.,                    |
                                             |
       Plaintiff,                            |
                                             |         Civil No. 1:10-cv-01182-RCL
       v.                                    |
                                             |
REPUBLIC OF IRAQ, et al.                     |
                                             |
       Defendant.                            |
                                             |

  MOTION TO CONTINUE DEFENDANTS’ DISCOVERY RESPONSE DUE DATES
       AND TO WITHDRAW AS DEFENDANTS’ COUNSEL OF RECORD
                     WITHOUT SUBSTITUTION

       Counsel of record for Defendants Republic of Iraq (“Iraq”) and the Ministry of Defense

of the Republic of Iraq (“MoD”) (collectively, “Defendants”), the law firm Maggs & McDermott

LLC and its attorney Timothy B. Mills and attorney Craig C. Reilly (“Defendants’ Counsel”),

hereby respectfully move this Court: (1) pursuant to Rules 16 and 26(c) of the Federal Rules of

Civil Procedure and the Court’s inherent control over its docket, to enter an order granting an

additional 75-day stay and relief from the discovery due dates (from February 29, 2016 through

April 28, 2016) to provide Defendants with sufficient time to address and cure internal

difficulties that have precluded Defendants from responding to Plaintiffs’ First and Second Set of

Discovery Requests; and (2) failing Defendants’ cure of internal difficulties and production of

discovery responses within the 75 days, then grant the withdrawal of current Defendants’

Counsel as counsel of record for Defendants for all purposes in this action.

       As good cause shown in support of this Motion, Defendants’ Counsel show as follows.




                                                 -1-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 2 of 15




                                       I. INTRODUCTION

A.     Background

       Iraq’s lead United States counsel, attorney Timothy B. Mills, has represented Iraq and

various Iraqi juridical entities in numerous civil litigation matters in the United States and abroad

continuously since May 2004, when the Coalition Provisional Authority (“CPA”) turned over the

exercise of authority to the Ministry of Justice in preparation for the turnover of sovereignty to

the Interim Iraqi Government on June 28, 2004.

       Between 2004 and present, Mr. Mills has traveled to Iraq repeatedly to coordinate

litigation work, to confer with officials at the Iraqi Ministry of Justice (which generally directs

all litigation against Iraq and governmental entities), and to confer with officials at the Iraqi

Ministries, agencies, or instrumentalities that may have been involved in particular litigation in

the courts of the United States or other nations. Under the direction of the Iraqi Ministry of

Justice and with the assistance of the particular juridical entity, Mr. Mills has conducted the

gathering and production of evidence in several other cases, including from 2008 through 2012

in the international cases of Kuwait Airways Corporation v. Iraqi Airways Company, then

pending before the Superior Court of Quebec sitting in Montreal, Canada (the “Canadian

Action”), and Kuwait Airways Corporation v. Iraqi Airways Company, then pending before the

Queens Bench Division of the High Court of Justice of England and Wales (the “English

Action”). In those cases, Mr. Mills had lead counsel responsibility for document production by

defendant Iraqi Airways Corporation that spanned several months, including multiple several-

week stints at the headquarters of Iraqi Airways Corporation and Iraqi governmental offices in

Baghdad that: (a) resulted in Iraqi Airways Corporation meeting all discovery obligations in the




                                                  -2-
         Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 3 of 15




Canadian Action; and (b) ultimately cured a multi-year discovery default in the English Action

that pre-dated Mr. Mills becoming involved in the English Action in April 2010. (Id., ¶ 6).

        Defendants’ Counsel has been working diligently for, and at the direction of, the

Republic of Iraq for several years. As authorized and instructed, Defendants’ Counsel (i)

asserted the sovereign immunity defense and litigated that defense through an interlocutory

appeal and petition for certiorari; (ii) filed other procedural motions; and (iii) successfully

defended against Wye Oak’s motion for judgment on the pleadings, obtaining a ruling that Iraq

and the Ministry of Defense are separate juridical entities for the purpose of determining

liability.

        Furthermore, particular to this litigation, in the fall of 2012, Mr. Mills met with relevant

officials of the Ministry of Justice and the Iraqi government and reviewed documents and

interviewed witnesses in connection with this action to support Iraq’s motion to dismiss on the

grounds of forum non conveniens. Thus, similar to Mr. Mills’ prior representation of Iraq and its

juridical entities, regular channels of communication existed in this litigation until recently,

including face-to-face meetings with Iraqi officials, as part of coordinating and conducting

foreign litigation on behalf of Iraq, Iraqi ministries and Iraqi State-owned entities, including this

case.

        Defendants’ Counsel expected these circumstances to continue. However, as of late

2013, those regular channels were interrupted, and regular travel to Iraq was not available owing

to the extraordinary security situation and instability in the country occasioned by the ISIS

military attacks and occupation of critically important cities and regions of Iraq. See e.g.,

Defendants’ Motion for a Stay and Relief from the Discovery Schedule [Dkt. #85, Feb. 13,




                                                 -3-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 4 of 15




2004]; Defendants’ Reply in Support of Motion for a Stay and Relief from the Discovery

Schedule [Dkt. #90, Mar. 5, 2014].

       Since late 2013, Defendants’ Counsel experienced an unprecedented communication

breakdown as the energies and attention of Iraq and the Ministry of Defense were absorbed by

the escalating military conflict with ISIS. Once communications with Iraq and the Ministry of

Defense were reestablished, however, logistical problems (such as the need for defense counsel

to travel to Iraq) impeded the process of gathering discoverable information; therefore, at the

direction of Iraq and the Ministry of Defense, defense counsel, in good faith, sought and obtained

extensions of the discovery timetable to accommodate those logistical problems.

       Defense counsel also has filed periodic status reports, stating their good faith

understanding of the logistical problems that continue to delay the process of gathering

discoverable information. See Defendants’ First through Tenth Status Reports [Dkt. # 102, May

9, 2014], [Dkt. #104, Jun. 9, 2014], [Dkt. #107, Aug. 12, 2014], [Dkt. #108, Sep. 19, 2014],

[Dkt. #113, Oct. 20, 2014], [Dkt. #117, Nov. 21, 2014], [Dkt. #118, Dec. 24, 2014], [Dkt. #133,

May 27, 2015], [Dkt. #142, Sep. 15, 2015], [Dkt. #145, Nov. 24, 2015].

       Compounding the logistical problems, the change of leadership in the Iraqi government

and the Iraqi government’s financial crisis occasioned by an approximate 50% reduction in

governmental revenues occasioned by the fall of oil prices have introduced additional instability

in the Iraqi government as governmental personnel in the Ministries are not being paid or are

furloughed. See Defendants’ Tenth Status Report [Dkt. #145, Nov. 24, 2015].

       Despite Defendants and Defendants’ Counsel encountering these difficulties, Defendants’

Counsel have made a concerted and good faith effort to meet their obligations to the Court, or

have moved in good faith for relief from the schedule.



                                               -4-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 5 of 15




       However, in the last two months, the anticipated cooperation of Defendants with

Defendants’ Counsel with respect to discovery obligations pertaining to Plaintiff’s Second Set of

Discovery Requests has not been forthcoming, without explanation of reasons why. This

constitutes a breakdown in communication between Defendants and Defendants’ Counsel. Thus,

there appears to be a breakdown in the attorney client relationship, which, unless promptly

repaired, would warrant, with leave of Court, the withdrawal of Defendants’ Counsel.

       Accordingly, Defendants’ Counsel bring this Motion to Continue Defendants’ Discovery

Response Due Dates and to Withdraw as Defendants’ Counsel of Record Without Substitution.

                             II. ARGUMENT AND AUTHORITY

A.     AUTHORITY

       1.      Motion to Continue Defendants’ Discovery Response Due Dates

       Pursuant to Rule 16, the Court may grant relief from any scheduling order it has entered

for “good cause shown.” FED.R.CIV.P. 16(a)(4); LCvR 16.4. A motion for scheduling relief

under Rule 16(b) is addressed to the district court’s discretion. “What constitutes good cause

sufficient to justify modification of a scheduling order necessarily varies with the circumstances

of each case.” 6A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY KANE, FEDERAL

PRACTICE AND PROCEDURE: CIVIL 3d § 1522.2 at 312-13 & n.4 (2010). Good cause can be

shown, “[i]n general, if the party seeking relief can show that the deadlines cannot reasonably be

met despite the party’s diligence[.]” Id.; accord Capitol Sprinkler Inspection, Inc. v. Guest

Servs., Inc., 630 F.3d 217, 226 (D.C. Cir. 2011) (same) (quoting WRIGHT MILLER & KANE). An

absence of prejudice to the opposing party also must be shown. WRIGHT, MILLER & KANE, §

1522.2 at 313-14. Under these principles, the Court should exercise its discretion under Rule 16

to modify the pretrial schedule and to stay discovery because, under the circumstances, “the



                                                -5-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 6 of 15




deadlines cannot reasonably be met despite the [Iraq’s] diligence,” and an extension of ninety

days should not result in any prejudice to Wye Oak.

       Under Rule 26, the Court may enter an order, for good cause shown, that specifies the

time for discovery responses. FED.R.CIV.P. 26(c)(1)(B); accord FED.R.CIV.P. 34(b)(2)(A) (court

may order longer response time). The Court is vested with broad discretion to manage the

conduct of discovery. E.g., Brennan v. Int’l Bhd. of Teamsters, 494 F.2d 1092, 1100 (D.C. Cir.

1974); see also Edmond v. U.S. Postal Serv. Gen. Counsel, 949 F.2d 415, 425 (D.C. Cir. 1991).

In particular, “the decision whether to stay discovery is committed to the sound discretion of the

district court judge.” White v. Fraternal Order of Police, 909 F.2d 512, 517 (D.C. Cir. 1990)

(citations omitted). In this case, the Court should exercise its discretion under Rule 26 to extend

Defendants’ time to respond to Plaintiff’s discovery requests.

       Finally, the Court has inherent authority to control its own docket and to stay litigation

when the interests of justice require and no prejudice would be visited on a party opposing the

stay. See Landis v. North American Co., 299 U.S. 248, 254-55 (1936). When deciding a

contested motion to stay, the Court “must weigh competing interests and maintain an even

balance.” Id. To prevail in a motion to stay, “[t]he proponent of a stay bears the burden of

establishing its need.” Clinton v. Jones, 520 U.S. 681, 708 (1997) (citations omitted). The

movant “must make out a clear case of hardship or inequity in being required to go forward, if

there is even a fair possibility that the stay for which he prays will work damage to someone

else.” Landis, 299 U.S. at 255. Under this formula, “[e]specially in cases of extraordinary

public moment, the individual may be required to submit to delay not immoderate in extent and

not oppressive in its consequences if the public welfare or convenience will thereby be

promoted.” Id. at 256; Clinton, 520 U.S. at 706-07. Nonetheless, as both Landis and Clinton



                                                -6-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 7 of 15




teach, the stay cannot be indefinite, even when extraordinary public concerns would warrant a

stay.

        As shown below in Section B below, a 75-day extension or stay is warranted.

        2.      Motion to Withdraw

        This Motion to Withdraw is governed by Local Rule 83.6 of the U.S. District Court for

the District of Columbia. Specifically, because Defendants’ Counsel have not been able to

obtain written consent from Defendants, this motion is governed by Local Civil Rule (“L.Cv.R.”

or “Rule”)) 83.6(c), which provides in relevant part:

        If a trial date has been set, or if a party’s written consent is not obtained, or if the party is
        not represented by another attorney, an attorney may withdraw an appearance for a party
        only by order of the court upon motion by the attorney served upon all parties to the case.
        Unless the party is represented by another attorney or the motion is made in open court in
        the party’s presence, a motion to withdraw an appearance shall be accompanied by a
        certificate of service listing the party's last known address and stating that the attorney
        has served upon the party a copy of the motion and a notice advising the party to obtain
        other counsel, or, if the party intends to conduct the case pro se or to object to the
        withdrawal, to so notify the Clerk in writing within seven days of service of the motion.

In determining whether to grant a motion to withdraw under Rule 83.6(c), the Court may

consider the following factors:

        (1)     Whether the withdrawal would unduly delay trial;

        (2)     Whether withdrawal would be unfairly prejudicial to any party;

        (3)     Whether withdrawal would otherwise not be in the interest of justice;

        (4)     The length of time the case and dispositive motions have been pending;

        (5)     The time it would take for the unrepresented party to obtain new counsel; and

        (6)     The degree of financial burden continuing the representation would have on the
                movant.

Laster v. District of Columbia, 460 F. Supp. 2d 111, 113 (D.D.C. 2006); Byrd v. District

of Columbia, 271 F. Supp. 2d 174, 176 (D.D.C. 2003); Barton v. District of Columbia,

                                                   -7-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 8 of 15




209 F.R.D. 274, 277 (D.D.C. 2002); see also Local Rule 83.6(d). These factors all

strongly support this Motion to Withdraw.

       The Court’s exercise of discretion granted by the Rule also may be informed by the

pertinent applicable ethical rules. See D.C. RULES OF PROFESSIONAL CONDUCT 1.16(b). If the court

does not order the lawyer to proceed, that rule absolutely grants the lawyer the right to withdraw,

provided the client’s interests are not materially and adversely affected:

       Rules of Professional Conduct: Rule 1.16--Declining or Terminating Representation

                                             *         *     *

               (b)     Except as stated in paragraph (c), a lawyer may withdraw from
       representing a client if withdrawal can be accomplished without material adverse effect
       on the interests of the client, or if:

                                             *         *     *

              (3)     The client fails substantially to fulfill an obligation to the lawyer regarding
       the lawyer's services and has been given reasonable warning that the lawyer will
       withdraw unless the obligation is fulfilled;

                                             *         *     *

               (5)     The lawyer believes in good faith, in a proceeding before a tribunal, that
       the tribunal will find the existence of other good cause for withdrawal.

               (c)     A lawyer must comply with applicable law requiring notice to or
       permission of a tribunal when terminating a representation. When ordered to do so by a
       tribunal, a lawyer shall continue representation notwithstanding good cause for
       terminating the representation.

D.C RULES OF PROFESSIONAL CONDUCT 1.16 (2016).

       As shown in Section C below, these factors also strongly support this Motion to

Withdraw.




                                                 -8-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 9 of 15




B.     MOTION TO FURTHER CONTINUE DISCOVERY DUE DATE

       Good cause exists for the Court to grant Defendants an additional 75 days – from

February 29, 2016 through Friday, May 13, 2016 – to respond to Plaintiff’s outstanding

discovery requests.

       1.      Defendants have reported to the Court the difficulties being experienced by Iraq

and the MoD that to date have impeded Defendants’ responses to Plaintiff’s First Set of Request

for Production of Documents Directed at Republic of Iraq. See Defendants’ Motion for a Stay

and Relief from the Discovery Schedule [Dkt. #85, Feb. 13, 2004] and Defendants’ Reply in

Support of Motion for a Stay and Relief from the Discovery Schedule [Dkt. #90, Mar. 5, 2014];

Defendants’ First through Tenth Status Reports [Dkt. # 102, May 9, 2014], [Dkt. #104, Jun. 9,

2014], [Dkt. #107, Aug. 12, 2014], [Dkt. #108, Sep. 19, 2014], [Dkt. #113, Oct. 20, 2014], [Dkt.

#117, Nov. 21, 2014], [Dkt. #118, Dec. 24, 2014], [Dkt. #133, May 27, 2015], [Dkt. #142, Sep.

15, 2015], [Dkt. #145, Nov. 24, 2015]. In particular, Defendants’ Counsel is informed that the

good cause for non-response set forth in Defendants’ Tenth Status Report [Dkt. #142, 24 Nov.

2016] continues to exist.

       2.      On December 29, 2015, at Defendants’ request, Defendants’ Counsel moved the

Court for additional time (through February 28, 2016) for Defendants to respond to Plaintiff’s

First Set of Requests for Production of Documents to Defendant Ministry of Defense and

Republic of Iraq and Plaintiff’s First Set of Interrogatories to Defendant Ministry of Defense of

the Republic of Iraq (collectively, “Plaintiff’s Second Set of Discovery Requests”) [Dkt. #000]

(the “December 29, 2015 Motion”). The December 29, 2015 Motion and Defendants’ Reply

[Dkt. #000] provided good cause for the Court to grant the requested additional time for

Defendants to respond to Plaintiff’s Second Set of Discovery Requests.



                                                -9-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 10 of 15




        3.       Without waiving privilege, Defendants’ Counsel states that to date, Defendants’

Counsel has not received Defendants’ responses to Plaintiff’s Second Set of Discovery

Requests, nor a commitment from Defendants of a date by which Defendants’ responses will be

forthcoming, without explanation of reasons why.

        4.       Defendants’ Counsel has given Defendants reasonable warning that Defendants’

counsel will withdraw if Defendants’ do not fulfill these obligations to Defendants’ counsel.

        5.       The good cause for the further 75-day extension of the due date for Defendants’

responses to Plaintiff’s Second Set of Discovery Requests consists of avoidance of material

adverse effect on Defendants’ interests by way of withdrawal of Defendants’ Counsel as counsel

of record in this action. The additional 75-day extension should provide Defendants ample time

to either: (a) cure Defendants’ internal difficulties in Defendants’ meeting their obligations to the

Court and to Defendants’ Counsel with respect to discovery so as to permit current counsel to

continue to represent Defendants; or (b) to engage substitute counsel to represent Defendants’

interests.

C.      WITHDRAWAL OF DEFENDANTS’ COUNSEL

        1.       L.Cv.R. 83.1(b) Factors

        All applicable L.Cv.R. 83.1(b) factors weigh heavily in favor of withdrawal.

        Factor 1: Allowing Defendants’ Counsel’s withdrawal would not unduly delay trial

because: (a) the proceedings have not extended beyond pre-trial discovery; and (b) the Court has

not set a trial date.

        Factor 2: Because no trial date is set, and because Defendants counsel is moving for a

75-day continuance of the discovery due dates, Defendants will have sufficient time and

opportunity to either: (a) cure the internal difficulties in responding to Defendants’ discovery



                                                -10-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 11 of 15




requests and continue to retain present Defendants’ counsel; or (b) if the internal difficulties are

not cured so as to permit current Defendants’ counsel to continue to represent Defendants, then

for Defendants to identify and retain other counsel to protect Defendants’ interests. Under these

circumstances Defendants will not be prejudiced. Furthermore, because there should be

sufficient time for either event to occur without unduly delaying the current proceedings, the

interests of Plaintiff will not be prejudiced either.

        Factor 3: Similarly, the interests of justice do not weigh against withdrawal

because Defendants will have time and opportunity either to cure their internal difficulties such

as to allow the current representation of Defendants’ Counsel to continue, or to find substitute

counsel.

        Factor 4: While this case has been pending for some time, there are currently no

dispositive motions before the Court. Additionally, Defendants’ Counsel’s withdrawal will not

reset the clock or otherwise wind back the substantial amount of time that this Court has invested

in this litigation.

        Factor 5: Because no trial date is set and because through this motion Defendants’

Counsel also are asking the Court to continue this case, Defendants should have ample time and

opportunity to either: (a) cure their internal difficulties and thus continue the representation by

current Defendants’ counsel; or (b) to identify and retain substitute counsel to protect

Defendants’ interests.

        Factor 6: The sixth factor – the degree of financial burden continuing the representation

would have on the movant – presently is not at issue in this motion. However, since late 2013,

along with the disruption in communications, there has been a disruption in the payment of fees

to Defendants’ Counsel. Nonetheless, Defendants’ Counsel has remained as counsel of record,



                                                  -11-
        Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 12 of 15




making diligent and good faith efforts to represent and protect Defendants’ interests in this

litigation. If this issue is not resolved promptly, however, it may become an additional ground

on which to withdraw.

       B.      Rule of Professional Conduct 1.16 Factors

       Without waiving privilege, Defendants’ counsel state that:

       1.      Defendants’ Counsel have fulfilled all ethical obligations as officers of the Court

and as attorneys for Defendants. Such obligations include but are not limited to communicating

to Defendants: (1) all Orders of this Court; (2) Plaintiff’s first set of Requests for Production of

Documents directed to Republic of Iraq, and Plaintiff’s second set of discovery requests directed

to Republic of Iraq and Ministry of Defense (collectively, “Plaintiff’s Discovery Requests”); and

(3) Defendants’ legal obligations to respond to Plaintiff’s Discovery Requests in accordance with

the requirements of the Federal Rules of Civil Procedure and the Orders of this Court;

       2.      Pursuant to Defendants’ Counsel’s obligations to this Court and in fulfillment of

Defendants’ Counsels’ obligations to Defendants as clients, Defendants’ counsel has candidly

communicated to the Court: (1) the status of Defendants’ efforts to respond to Plaintiff’s first

Request for Production of Documents and the reasons for Defendants’ inability to respond to

date; and (2) Defendants’ request that Defendants be provided through February 28, 2016 to

respond to Plaintiff’s Second Set of Discovery Requests;

       3.      To date, Defendants’ Counsel has not received Defendants’ responses to

Plaintiff’s Second Set of Discovery Requests, nor a commitment from Defendants of a date by

which Defendants’ responses will be forthcoming, nor reasons why Defendants have not

responded to Plaintiff’s Second Set of Discovery Requests; and




                                                 -12-
       Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 13 of 15




       4.      Defendants’ Counsel has given Defendants reasonable warning that Defendants’

counsel will withdraw if Defendants’ do not fulfill these obligations to Defendants’ counsel.

       5.      Withdrawal can be accomplished without material adverse effect on Defendants’

interests. As noted above, Defendants Counsel have moved for a 75-day suspension of the

discovery due dates so as to provide Defendants ample time to either: (a) cure Defendants’

internal difficulties in Defendants’ meeting their obligations to the Court and to Defendants’

Counsel so as to permit current counsel to continue to represent Defendants; or (b) to engage

substitute counsel to represent Defendants’ interests.

                                         CONCLUSION

       For the good cause stated above, Defendants’ Counsel asks that the Court: (1) grant

Defendants an additional 75 days to cure Defendants’ internal difficulties and to respond to

Defendants’ discovery requests; and (2) failing Defendants’ cure of internal difficulties and

production of discovery responses within the 75 days, then grant the withdrawal of current

Defendants’ Counsel as counsel of record for Defendants for all purposes in this action.

       A proposed order is attached to this motion.

                                 L.Cv.R. 83.6(c) CERTIFICATE

       On February 26, 2016 Defendants’ Counsel Maggs & McDermott LLC attorney Timothy

B. Mills served upon Defendants a copy of this Motion to Withdraw and notice advising

Defendants to obtain other counsel.

       Defendants’ address is:

               Legal Department
               Ministry of Justice of the Republic of Iraq
               ATTN: Director General Hanan Nassef
               Baghdad, Iraq
               Email: legaldept.moji@gmail.com



                                               -13-
       Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 14 of 15




                                 L.Cv.R. 7(m) CERTIFICATE

       On February 26, 2016 Defendants’ counsel Timothy B. Mills discussed this motion with

Plaintiff’s counsel John Quinn of Quinn, Racusin & Gazzola Chartered. Plaintiff’s counsel

stated that Plaintiff: (1) does not oppose the withdrawal of Defendants’ Counsel; (2) does not

oppose continuance of the discovery due dates sought in this motion for purposes of providing

Defendants’ with time to obtain substitute counsel; and (3) reserves Plaintiff’s right to further

respond to this motion following receipt and review of this motion.

Dated: 26th day of February 2016.

                                      Respectfully submitted,
                                      CRAIG C. REILLY

                                      By:            /s/ Craig C. Reilly
                                              Craig C. Reilly
                                              D.C. Bar No. 383594
                                              111 Oronoco Street
                                              Alexandria, Virginia 22314
                                              Telephone: (703) 549-5354
                                              Fax: (703) 549-2604
                                              Email: craig.reilly@ccreillylaw.com
                                              Co-Lead Counsel for
                                               Defendant Republic of Iraq

                                      MAGGS & MCDERMOTT, LLC

                                      By:            /s/ Timothy B. Mills
                                              Timothy B. Mills
                                              D.C. Bar No. 425209
                                              910 17th Street, N.W.
                                              Washington, DC 20006
                                              Telephone: (202) 457-8090
                                              Fax: (202) 478-5081
                                              TimothyBMills@aol.com
                                              Co-Lead Counsel for
                                               Defendant Republic of Iraq




                                                -14-
       Case 1:10-cv-01182-RCL Document 152 Filed 02/26/16 Page 15 of 15




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of February 2016, I electronically transmitted the
foregoing pleading or paper to the Clerk of the Court using the ECF System for filing, who will
transmit a Notice of Electronic Filing to the following ECF registrant counsel for Plaintiff:

John H. Quinn Jr.                               Robert J. Pavich, Pro Hac Vice
jhq@qrglawfirm.com                              John J. Pavich, Pro Hac Vice
Quinn, Racusin & Gazzola Chartered              PAVICH LAW GROUP, P.C.
1667 K Street N.W., Suite 720                   20 S. Clark Street
Washington , D.C. 20006                         Suite 700
Telephone: (202) 842-9300                       Chicago, IL 60603
Facsimile: (202) 682-0148                       Telephone: (312) 782-8500
Counsel for Plaintiff                           Facsimile: (312) 853-2187
                                                rpavich@pavichlawgroup.com
                                                jpavich@pavichlawgroup.com
                                                Co-Counsel for Plaintiff

                                                          /s/ Timothy B. Mills




                                             -15-
